                         Case 1:16-cr-10343-ADB Document 419-1 Filed 09/11/18 Page 1 of 14
       45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

    Criminal Case Cover Sheet                                                             U.S. District Court - District of Massachusetts


    Place of Offense:                           Category No.      J_                    Investigating Agency

    City       Boston                                   Related Case Information:

    County         Suffolk                              SupersedingInd./ Inf.       Yes                    Case No.      16-10343-ADB
                                                        Same Defendant _X                           New Defendant
                                                        Magistrate Judge Case Number
                                                        Search Warrant Case Number              14mi7083-JCB
                                                        R 20/R 40 from District of

    Defendant Information:


    Defendant Name Michael L. Babich                                                 Juvenile:               •     Yes         No
                             Is this person an attorney and/or amember ofany state/federal bar:              •     Yes 0 No
    Alias Name

    Address                  rCitv & State) Scottsdale, AZ 85255

Birth date (Yronly):               SSN (last4#): 6109       Sex M             Race: Caucasian            Nationality:

    Defense Counsel if known:                   Joseph Sedwick Sollers, III             Address King & Spalding, LLP

    Bar Number                                                                                      1700 Pennsylvania Avenue. NW Suite 200
                                                                                                    Washington, D.C. 20006
    U.S. Attorney Information:

    AUSA          K. Nathaniel Yeager, David Lazarus, David D'Addio          BarNumber if applicable         630992,624907, 665790
    Interpreter:             • Yes          [3^®                  List language and/or dialect:
    Victims:                 [/lYes| |No Ifyes, are there multiple c          victims under 18 USC§3771(d)(2)            Yes • No
    Matter to be SEALED:                    [J Yes      •    No
              I [warrant Requested                           Regular Process                        I I InCustody
    Location Status:


    Arrest Date                    12/08/2016


I [Already in Federal Custody as of                                                        m


I IAlready in State Custody
I     Ij-yu.k/dujf III       v^uoiuujr aw                                   I [serving Sentence              | [\waiting Trial
r^On Pretrial Release: Ordered by:                      D. ofAZ                                on       December 8, 2016

    Charging Document:                      I IComplaint               I [information                    0 Indictment
    Total #ofCounts:                        | |Petty                   I IMisdemeanor                    [/I Felony —
                                                 Continue on Page 2 for Entry of U.S.C. Citations

0             I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge                  are

              accurately set iforth above.

Date:         09/11/2018                             Signature of AUSA:
Case 1:16-cr-10343-ADB Document 419-1 Filed 09/11/18 Page 2 of 14
Case 1:16-cr-10343-ADB Document 419-1 Filed 09/11/18 Page 3 of 14
Case 1:16-cr-10343-ADB Document 419-1 Filed 09/11/18 Page 4 of 14
Case 1:16-cr-10343-ADB Document 419-1 Filed 09/11/18 Page 5 of 14
Case 1:16-cr-10343-ADB Document 419-1 Filed 09/11/18 Page 6 of 14
Case 1:16-cr-10343-ADB Document 419-1 Filed 09/11/18 Page 7 of 14
Case 1:16-cr-10343-ADB Document 419-1 Filed 09/11/18 Page 8 of 14
Case 1:16-cr-10343-ADB Document 419-1 Filed 09/11/18 Page 9 of 14
Case 1:16-cr-10343-ADB Document 419-1 Filed 09/11/18 Page 10 of 14
Case 1:16-cr-10343-ADB Document 419-1 Filed 09/11/18 Page 11 of 14
Case 1:16-cr-10343-ADB Document 419-1 Filed 09/11/18 Page 12 of 14
Case 1:16-cr-10343-ADB Document 419-1 Filed 09/11/18 Page 13 of 14
Case 1:16-cr-10343-ADB Document 419-1 Filed 09/11/18 Page 14 of 14
